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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

BRENDAN PURNELL,

       Plaintiff,

v.                                                CIVIL ACTION FILE NO.

PEPSICO, INC. and TARGET                          _____________________
CORPORATE SERVICES, INC.,

       Defendants.



                              NOTICE OF REMOVAL

      Defendant PepsiCo, Inc. hereby submits this Notice of Removal of the action

referenced herein from the Superior Court of Tift County, Georgia, to the United

States District Court for the Middle District of Georgia, Valdosta Division,

respectfully showing as follows:

                                          1.

      PepsiCo, Inc. is one of the named defendants in a civil action brought in the

Superior Court of Tift County, Georgia, styled Brendan Purnell v. PepsiCo, Inc. and

Target Corporate Services, Inc., Civil Action File no. 2022CV0123. Attached hereto and

made a part hereof as Exhibits are:

      • Exhibit “A”: A copy of the Complaint filed by Plaintiff in the Superior Court

         of Tift County on March 24, 2022;




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      • Exhibit “B”: A copy of the summons issued by the Clerk of the Superior

         Court of Twiggs County to PepsiCo, Inc. on March 24, 2022; and

      • Exhibit “C”: A copy of the Sheriff’s Entry of Service reportedly reflecting

         service of process on someone on April 6, 2022.

      The attachments hereto, Exhibits “A” through “C,” constitute copies of all

process, pleadings, and orders served on this Defendant in the action pending in the

Superior Court of Tift County, Georgia.

                                            2.

      The aforementioned action was commenced by the filing of Plaintiff’s

complaint in the Superior Court of Tift County, Georgia on March 24, 2022.

                                            3.

      This Court has jurisdiction over this action under 28 U.S.C. § 1332 because there

is complete diversity of citizenship between the Plaintiff and all Defendants, and the

amount in controversy exceeds $75,000.00, excluding interest and costs. 1

                                            4.

      Pursuant to 28 U.S.C. § 1446(b)(1) and FED. R. CIV. P. 6(a), this Notice of

Removal is filed within 30 days after receipt by the Defendant, through service or




1Although PepsiCo, Inc. denies Plaintiff is entitled to recover any such amounts from
the Defendants, Plaintiff alleges in his Complaint for Damages that he is entitled to
recover damages including “$50,000 for loss [sic] revenue, $100,000 for punitive
damages, plus court costs, legal fees, and travel expenses to and from court.”
(Plaintiff’s Complaint, Doc. 1-1, ¶ 24.)

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otherwise, of a copy of a pleading, amended pleading, motion, order or other paper

from which it may first be ascertained that the case is one which is or has become

removable. Defendant’s first notice of this action came upon receiving the Complaint

for Damages on or after April 6, 2022.

                                            5.

      The subject controversy is one between a resident of the state of Georgia

(Plaintiff) and two defendants (only one of which has been properly joined and

served) that are not citizens or residents of Georgia.

                                            6.

      Plaintiff is a citizen of the state of Georgia. (Complaint, Doc. 1-1, ¶ 1.)

                                            7.

      Defendant PepsiCo, Inc. is a North Carolina corporation with its principal place

of business in the State of New York.

                                            8.

      Defendant Target Corporate Services, Inc., which on information and belief has

not been properly served with process in this action, is a defunct Minnesota

corporation with its principal place of business in the state of Minnesota. 2




2 The Georgia Corporations Division’s online corporate information search reflects
that Target Corporate Services, Inc. was dissolved in 2016.

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                                            9.

       All named defendants who have been properly joined and served consent to

the removal of this action. 3

                                            10.

       The amount in controversy exceeds $75,000.00, excluding interest and costs,

and this is a civil action brought in a Superior Court of the State of Georgia, of which

the United States District Courts have original jurisdiction because of diversity of

citizenship and the amount in controversy pursuant to 28 U.S.C. § 1332.

                                            11.

       Based on the complete diversity that exists between the parties and the amount

in controversy, the pending action is one which Defendant PepsiCo, Inc. is entitled to

remove to this Court pursuant to 28 U.S.C. §§ 1332 and 1446(b).



       WHEREFORE, Defendant PepsiCo, Inc. prays that this Notice of Removal be

filed, that said action be removed to and proceed in this Court, and no further

proceedings be had in the said case in the Superior Court of Tift County, Georgia.




                       [Signature of Counsel on Following Page]



3As shown above, on information and belief, Target Corporate Services, Inc. has not
been served with process in this action and is a defunct entity. Accordingly, its
consent to the removal is not required pursuant to 28 U.S.C. § 1446(b)(2)(A).

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     Respectfully submitted this 6th day of May, 2022.

                                     HAWKINS PARNELL & YOUNG, LLP




                                       Martin A. Levinson
                                       Georgia Bar No. 141791
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 BRENDAN PURNELL,

       Plaintiff,

 v.                                                  CIVIL ACTION FILE NO.

 PEPSICO, INC. and TARGET                            _____________________
 CORPORATE SERVICES, INC.,

       Defendants.

                              CERTIFICATE OF SERVICE
      I have served Plaintiff in this case with Notice to Plaintiff of Removal to
Federal Court and Notice of Removal (with Exhibits “A” through “C,” Attorney’s
Affidavit, Affidavit of Filing in State Court of Fulton County, and Notice of Filing)
by placing copies in the U.S. Mail in an envelope with sufficient postage, addressed
as follows:
      Brendan Purnell                                   Brendan Purnell
      235 S. Queen Street, Suite 2                      2330 Scenic Hwy, Suite 300
      Dover, DE 19904                                   Snellville, GA 30078

              This 6th day of May, 2022.
                                               HAWKINS PARNELL & YOUNG LLP




 303 Peachtree Street, N.E.
                                               Martin A. Levinson
 Suite 4000
                                               Georgia Bar No. 141791
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